              IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF IOWA

Christopher (Bruce) The Living Man
Elizabeth (Bruce) the living woman                                            Case #4-18-cv-40
                Plaintiffs
v.                                                                  Motion for Injunctive Relief Against
                                                                    Defendant John. P. Sarcone
Polk County Attorney’s Office et al
       Defendants



Christopher (Bruce) the living man has submitted Exhibit 6 this day into the case, hereby identified as
proof of more offices called by Defendant John P. Sarcone; and asks the court grant plaintiff Christopher
his desired injunctive relief A.S.A.P., to have the county attorney cease and desist calling Government
agencies around the country to have him investigated and/or arrested for the crime of trying to have the
Polk County Attorney’s offices pay for their crimes against the plaintiffs in Federal Court (see also Exhibit
1, and Federal Complaint, as well as plaintiff’s resistance motion to the County Attorney’s filed motion
to dismiss the action against them.)



Christopher, the Living Man                                         Date:_________________________



Elizabeth, the Living Woman.                                        Date:_________________________




                                           Proof of Service
  The undersigned certifies that the foregoing instrument was served upon each of the persons identified as
  receiving a copy by delivery in the following manner on the ________ day of __________________, 2018:

                                             U.S. Mail and Fax.



                  _______________________________________________
                                        Christopher, The Living Man
